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9                                  UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12   UNITED STATES OF AMERICA,                     )       No. CR 05 00284 SI
                                                   )
13            Plaintiff,                           )       [PROPOSED] ORDER AND
                                                   )       STIPULATION FOR CONTINUANCE
14      v.                                         )       FROM MARCH 24, 2006 TO APRIL 21,
                                                   )       2006 AND EXCLUDING TIME FROM
15   AKRAM SABAR CHAUDHRY,                         )       THE SPEEDY TRIAL ACT
       a.k.a. Akram Sabar, and                     )       CALCULATION (18 U.S.C. §
16   MOHAMMAD ADIL                                 )       3161(h)(8)(A))
       a.k.a. Adil Mohammad,                       )
17
              Defendants.
18
19
              With the agreement of the parties, and with the consent of the defendants, the Court
20
     enters this order continuing a scheduling and trial setting appearance before the district court
21
     from March 24, 2006 to April 21, 2006 at 11:15 A.M. before the Honorable Susan Illston, and
22
     documenting the defendant’s exclusion of time under the Speedy Trial Act, 18 U.S.C. § 3161(b),
23
     from March 24, 2006 to April 21, 2006. The parties agree, and the Court finds and holds, as
24
     follows:
25
              1. The defendants agree to an exclusion of time under the Speedy Trial Act. Failure to
26
     grant the requested continuance would unreasonably deny defense counsel reasonable time
27
     necessary for effective preparation, taking into account the exercise of due diligence as set out
28
     below:
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1
2                   a. The government has determined that additional discovery is warranted and is
3                   in the process of scanning all discoverable records to include the supplemental
4                   materials.
5                   b. The government has determined that re-translation of a number of taped
6                   conversations from the Urdu language to the English language is warranted and
7                   has initiated this process.
8       2. Given these circumstances, the Court finds that the ends of justice served by excluding the
9    period from from March 24, 2006 to April 21, 2006, outweigh the best interest of the public and
10   the defendant in a speedy trial. § 3161(h)(8)(A).
11      3. Accordingly, and with the consent of the defendant, the Court ordered that the period
12   from from March 24, 2006 to April 21, 2006 be excluded from Speedy Trial Act calculations
13   under 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).
14
15          IT IS SO STIPULATED:
16
17   DATED: March 21, 2006                  _____________/s/__________________
                                            STEVEN F. GRUEL, ESQ.
18                                          Attorney for Defendant Chaudhry
19   DATED: March 21, 2006                  ____________/s/___________________
                                            DAVID L. ANDERSON, ESQ.
20                                          Attorney for Defendant Adil
21   DATED: March 21, 2006                  ____________/s/___________________
                                            BLAKE D. STAMM
22                                          Assistant United States Attorney
23          IT IS SO ORDERED.
24
25   DATED: ______________                  _______________________________
                                            HON. SUSAN ILLSTON
26                                          United States District Judge
27
28
                                                     2
